                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF IOWA
                            CEDAR RAPIDS DIVISION


                                           )
 J&M MANUFACTURING CO. INC.,               )
                                           )   Civil Action No. 1:22-CV-00094-CJW-KEM
                         Plaintiff,        )
                                           )
 v.                                        )              Judge CJ Williams
                                           )     Magistrate Judge Kelly K.E. Mahoney
 KINZE MANUFACTURING, INC.,                )
                                           )
                         Defendant.        )
                                           )
                                           )
                                           )


DECLARATION OF SUSIE VEATCH IN SUPPORT OF RESISTANCE TO MOTION
                     TO AMEND COMPLAINT


       1.     I, Susie Veatch, being over the age of 18 years, and currently employed as

President of Defendant Kinze Manufacturing, Inc. (Kinze) have personal knowledge of

the case and the facts set forth herein.

       2.      Beginning August 15, 2023, the Kinze Model 1051 single auger grain (1051)

cart was on display at the Dakotafest farm show where it was openly available for public

view and inspection throughout the entire event.

       3.     On September 19-21, 2023, the 1051 was on display at The Ohio State

University’s Farm Science Review, and openly available for public view and inspection.

Plaintiff J&M was also an exhibitor at this farm show.




                                                               EXHIBIT
      Case 1:22-cv-00094-CJW-KEM Document 73-1 Filed 01/12/24 Page 1 of 31
       4.      As of October 2023, Kinze’s marketing brochure regarding the 1051 was

publicly available and distributed.

       5.      The geometric design of the spout mechanism for the 1051 subject to

Plaintiff’s Motion to Amend the Complaint and Motion to Amend the Preliminary

Infringement Contentions differs from the geometry of the spout mechanism on the

Accused Products in this case. For example, the design of the discharge spout on the 1051

single auger cart is rotated by comparison to the discharge design of the Model 1421 (dual

auger grain cart), thus positioning the hinges of 1051 tip spout such that the spout is not

parallel with the sidewall of the container of the single auger cart, nor horizontal.

       6.      Irrespective of this differing geometric design, beginning with the 2024

Model 1051 single auger grain carts Kinze has made the corporate decision to no longer

use this spout design, but to return to the original spout utilized when the 1051 was

introduced and a shown in the below photograph:




            Further declarant sayeth not.

                                             2

     Case 1:22-cv-00094-CJW-KEM Document 73-1 Filed 01/12/24 Page 2 of 3
       Pursuant to 28 U.S.C. 1746, I declare under penalty of perjury that the foregoing

is true and correct.


                

       Dated: ___________________               _____________________________
                                                Susie Veatch




                                            3

     Case 1:22-cv-00094-CJW-KEM Document 73-1 Filed 01/12/24 Page 3 of 3
